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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF COLORADO

 In re:                                          )
                                                 )    Case No. 10-24238 HRT
 SVS HOLDINGS, INC.,                             )
                                                 )    Chapter 11
              Debtor.                            )


          ORDER GRANTING SMARTMATIC CORPORATION'S MOTION FOR
          CONVERSION OF CHAPTER 11 CASE TO CASE UNDER CHAPTER 7


       The above-entitled matter having come before the Court on Smartmatic’s Motion
 for Conversion of Chapter 11 Case to Case Under Chapter 7 (“Motion”); the Court,
 having reviewed the pleadings filed herein and being otherwise fully advised in the
 premises, it is hereby

              ORDERED that the Motion shall be, and hereby is, GRANTED.

              DATED this ____ day of ______________, 2012.

                                                 BY THE COURT:



                                                 _______________________________
                                                 Howard R. Tallman, Chief Judge




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